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                                                                                 MAY 05 2023

                            UNITED STATES IJiISTRICTCOUlifRO SE OFFICE
                  FOR THE eastern"DISTRICT OF NEW VORk
ROMAN BRIK,                                         CIVIL ACTION NO.
                            Plaintiff,
                                                    JURY TRIAL DEMANDED
              - against -

JANET MCFARLAND,individually, and                       23-cv-3507-AMD-LB
COURT OFFICER LAVANCO(badge #6248),
individually

                            Defendants.

     COMPLAINT - DEPRIVATION OF CONSTITUTIONAL RIGHTS
                  AND PETITION FOR WRIT OF MANDAMUS
                                PRELIMINARY STATEMENT

   1. This action is brought against Janet McFarland,ajudge of Richmond County Family Court
in Staten Island ("McFarland"), and her court officer, Lavanco (shield #6248), who,apparently at
the direction of McFarland, violently assaulted me, the undersigned Plaintiff, at the entrance of
McFarland's courtroom in which McFarland engaged an illegal ex-parte hearing, excluding me

but keeping state-paid opposing party's attorney, Ian Berliner, the opposing party, and the state-
paid children's attomey, Rita Kaufman, who since then was relieved from the case. The described
events tool place at the conclusion of a regular court session on 2/24/2023, and are eerily
reminiscent of 18-cv-02909 Jacobs v. Cosimo Ali(EDNY).

    2. In violation of Sixth and Seventh Amendments ofthe U.S. Constitution, McFarland denied

me the right to ajury trial, and is steamrolling me into a trial scheduled to start on 5/9/2023.
    3. My exposure ofthe rot festering in the Staten Island court managed and supervised by Ann-
Marie Jolly and Alison Hamanjian, who clearly are runmng cover for McFarland, earned respect
and recognition even from NYC Mayor's office and legal counsel. I am a certified member of
the press, and the court's actions are nothing less than a blatant attack by a rogue government arm
on free joumalism and free speech.
